
46 So.3d 626 (2010)
Joshua S. REID, Petitioner,
v.
Walter A. McNEIL, Secretary, Florida Department of Corrections, Respondent.
No. 1D10-3506.
District Court of Appeal of Florida, First District.
October 15, 2010.
Joshua S. Reid, pro se, Petitioner.
No appearance for Respondent.
PER CURIAM.
The circuit court's order sought to be reviewed is not final. Petitioner also fails to demonstrate any injury which cannot be remedied by review of final order. Accordingly, the petition for writ of certiorari is denied.
PETITION DENIED.
WEBSTER, DAVIS, and VAN NORTWICK, JJ., concur.
